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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 17-1397 JVS(JDEx)                                       Date   December 4, 2017

 Title             Megan Schmitt v. Younique LLC


 Present: The                    James V. Selna
 Honorable
                         Karla J. Tunis                                       Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           (IN CHAMBERS) ORDER GRANTING IN PART AND DENYING
                                      IN PART DEFENDANT’S MOTION TO DISMISS

      The Court, having been informed by the parties in this action that they submit
on the Court’s tentative ruling previously issued, hereby GRANTS IN PART and
DENIES IN PART the Defendants’ Motion to Dismiss and rules in accordance with
the tentative ruling as follows:

       Defendant Younique, LLC (“Younique”) moved to dismiss the First Amended
Complaint (“FAC”) filed by Plaintiffs Megan Schmitt (“Schmitt”), Deana Reilly
(“Reilly”), Carol Orlowsky (“Orlowsky”), and Stephanie Miller Brun (“Brun”)
(collectively, “Plaintiffs”). (Mot., Docket No. 45.) Plaintiffs opposed. (Opp’n, Docket
No. 47.) Younique filed a reply. (Docket No. 48.)

     For the following reasons, the Court grants in part and denies in part Younique’s
motion to dismiss.

                                                    I. BACKGROUND

      This case concerns the marketing and sales of Younique’s mascara product,
Moodstruck 3D Fiber Lashes (the “Product”). (FAC, Docket No. 43 ¶ 1.1) The Product
consists of two components, a “Transplanting Gel” and “Natural Fibers.” (Id. ¶ 3.)
Younique represented that the Natural Fiber component was “natural” and consisted of

         1
          The paragraph numbering of the FAC restarts at Paragraph 1on Page 5, after the first
Paragraph 8. In its citations, the Court lists the first eight paragraphs before any later cited paragraphs
of the same number.
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“100% Natural Green Tea Fibers.” (Id. ¶ 4.) However, Plaintiffs allege that the Natural
Fiber component did not actually contain any green tea leaves and instead was composed
of ground-up nylon. (Id.) Plaintiffs allege that a reasonable person would not consider
nylon “natural.” (Id. ¶ 7.) The Product’s packaging lists nylon as an ingredient of the
Transplanting Gel. (Id. ¶ 8.)

       Plaintiffs are consumers who purchased the Product. (Id. ¶¶ 24, 28, 32, 36.) At all
times relevant to this action, Schmidt was a citizen of California, Reilly was a citizen of
Florida, Brun was a citizen of Ohio, and Orlowsky was a citizen of Tennessee. (Id.)
Each Plaintiff purchased the Product in the state in which they resided. (Id.) Plaintiffs
filed a purported class action against Younique alleging eighteen causes of action,
including violations of the Magnuson-Moss Warranty Act (“MMWA”), 15 U.S.C. 2301,
et seq., the California Unfair Competition Law (“UCL”), California Bus.& Prof. Code §
17200, et seq., the Ohio Consumer Sales Practices Act, Ohio Rev. Code § 1345.01, and
other states’ consumer protection statutes; breaches of an express warranty under
California, Florida, Ohio, and Tennessee laws, as well as under the laws of other states;
and breaches of the implied warranties of merchantability and fitness for a particular
purpose under California, Florida, Ohio, and Tennessee laws, as well as under the laws of
other states. (See generally id.) Younique filed this motion to dismiss pursuant to
Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), with respect to Claim 1
(MMWA), Claim 2 (UCL), Claim 6 (Florida express warranty), Claim 7 (Florida implied
warranty of merchantability), Claim 8 (Ohio Consumer Sales Practices Act), Claim 11
(Ohio implied warranty of merchantability), Claim 14 (Tennessee implied warranty of
merchantability), and Claims 15–18 (claims under other states’ consumer protection
statutes, implied warranties of merchantability, and implied warranties of fitness for a
particular purpose). (Reply, Docket No. 48 at 18.)

                                     II. LEGAL STANDARD

         A.      Motion to dismiss pursuant to 12(b)(1)

       When a federal district court lacks subject matter jurisdiction over a claim,
dismissal is appropriate under Rule 12(b)(1). Fed. R. Civ. P. 12(b)(1). Subject matter
jurisdiction must be present when a plaintiff files his initial complaint. Morongo Band of
Mission Indians v. Cal. State Bd. of Equalization, 858 F.2d 1376, 1380 (9th Cir. 1988).
In addition, subject matter jurisdiction is a threshold issue regarding a court’s power to
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hear a case, so a court should decide a Rule 12(b)(1) challenge before examining other
grounds for dismissal. Alvares v. Erickson, 514 F.2d 156, 160 (9th Cir. 1975)
disapproved of on other grounds by Local 144 Nursing Home Pension Fund v. Demisay,
508 U.S. 581, 590 (1993). However, a court should not dismiss an action for lack of
subject matter jurisdiction without giving a plaintiff an opportunity to amend unless it is
clear that the plaintiff cannot cure the jurisdictional deficiency. May Dep’t Store v.
Graphic Process Co., 637 F.2d 1211, 1216 (9th Cir. 1980).

         B.      Motion to dismiss pursuant to 12(b)(6)

       Under Federal Rule of Civil Procedure 12(b)(6), a defendant may move to dismiss
for failure to state a claim upon which relief can be granted. A plaintiff must state
“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 570 (2007). A claim has “facial plausibility” if the plaintiff
pleads facts that “allow[] the court to draw the reasonable inference that the defendant is
liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       In resolving a 12(b)(6) motion under Twombly, a court must follow a two-step
approach. Id. at 679. First, a court must accept all well-pleaded factual allegations as
true, but “[t]hreadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Id. at 678. Furthermore, a court must not “accept
as true a legal conclusion couched as a factual allegation.” Id. at 678 (quoting Twombly,
550 U.S. at 555). Second, assuming the veracity of well-pleaded factual allegations, a
court must “determine whether they plausibly give rise to an entitlement to relief.” Id. at
679. This determination is context-specific, requiring a court to draw on its experience
and common sense, but there is no plausibility “where the well-pleaded facts do not
permit the court to infer more than the mere possibility of misconduct.” Id.

                                        III. DISCUSSION

         A.      Breach of Implied Warranties (Claims 7, 11, 14, 17, and 18)

                 1.    Implied Warranty of Merchantability (Claims 7, 11, 14, and 17)

      Under California, Florida, Ohio, and Tennessee, a product can breach the implied
warranty of merchantability in multiple ways. See Cal. Com. Code § 2314; Fla. Stat. §
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672.314; Ohio Rev. Code Ann. § 1302.27; Tenn. Code Ann. § 47-2-314; Hauter v.
Zogarts, 14 Cal. 3d 104, 117 (1975) (“Merchantability has several meanings”). A
product is not merchantable if it is not “fit for the ordinary purposes for which such
goods are used.” Cal. Com. Code § 2314(2)(c); Fla. Stat. § 672.314(2)(c); Ohio Rev.
Code Ann. § 1302.27(B)(3); Tenn. Code Ann. § 47-2-314(2)(c). However, it is similarly
not merchantable if it does not “conform to the promises or affirmations of fact made on
the container or label if any.” Cal. Com. Code § 2314(2)(f); Fla. Stat. § 672.314(2)(f);
Ohio Rev. Code Ann. § 1302.27(B)(6); Tenn. Code Ann. § 47-2-314(2)(f).

       Younique argues that Plaintiffs fail to state a claim for the breach of the implied
warranty of merchantability because they fail to allege that the product is not fit for its
ordinary purpose. (Mot., Docket No. 45-1 at 8–10.) Plaintiffs do not challenge this
argument, but rather maintain that they state a claim by alleging that the product does not
“conform with promises or affirmations of fact made on the container or label.” (Opp’n,
Docket No. 47 at 12.) Plaintiffs allege that the label falsely states that the Natural Fiber
component is comprised of “100% Natural Green Tea Fibers.” (FAC ¶¶ 1–3.) Therefore,
they sufficiently state a claim for breach of the implied warranty of merchantability based
on failure to conform with promises or affirmations of fact made on the label.

       “When an implied warranty of merchantability cause of action is based solely on
whether the product in dispute ‘[c]onforms to the promises or affirmations of fact’ on the
packaging of the product, the implied warranty of merchantability claim rises and falls
with express warranty claims brought for the same product.” Hadley v. Kellogg Sales
Co., 243 F. Supp. 3d 1074, 1106 (N.D. Cal. 2017) (citing Hendricks v. StarKist Co., 30 F.
Supp. 3d 917, 933 (N.D. Cal. 2014)) (finding an implied warranty of merchantability
claim based on labeling to be insufficiently pled for the same reason it found an express
warranty claim to be insufficiently pled); Broomfield v. Craft Brew All., Inc., No.
17-CV-01027-BLF, 2017 WL 3838453, at *11 (N.D. Cal. Sept. 1, 2017) (dismissing with
leave to amend an implied warranty claim based on labeling and an express warranty
claim for failing to allege an affirmative misrepresentation).

       Younique only moves to dismiss Plaintiffs’ Florida express warranty claim. (Mot.,
Docket No. 45-1 at 5, 14.) Because, as discussed below, Plaintiffs cannot state a claim
for breach of express warranty under Florida law, the Court grants Younique’s motion to
dismiss Plaintiffs’ Florida implied warranty of merchantability claim. However, the
Court denies Younique’s motion to dismiss Plaintiffs’ California, Ohio, and Tennessee
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implied warranty of merchantability claims.

                 2.   Implied Warranty of Fitness for a Particular Purpose (Claim 18)

      “Where the seller at the time of contracting has reason to know any particular
purpose for which the goods are required and that the buyer is relying on the seller’s skill
or judgment to select or furnish suitable goods, there is . . . an implied warranty that the
goods shall be fit for such purpose.” Cal. Com. Code § 2315; Fla. Stat. § 672.315; Ohio
Rev. Code Ann. § 1302.28; Tenn. Code Ann. § 47-2-315. “A ‘particular purpose’ differs
from the ordinary purpose for which the goods are used in that it envisages a specific use
by the buyer which is peculiar to the nature of his business.” Official Comment 2, Cal.
Com. Code § 2315; Official Comment 2, Fla. Stat. § 672.315; Official Comment 2, Ohio
Rev. Code Ann. § 1302.28; Official Comment 2, Tenn. Code Ann. § 47-2-315.

       Plaintiffs argue that they have sufficiently pled a particular purpose for buying the
Product by alleging that they bought it to use a natural product. (Opp’n, Docket No. 47 at
12–13 (citing FAC ¶¶ 193–197)). But Plaintiffs also allege that the product label states
that the transplanting gel contains nylon and that Plaintiffs believe that nylon is synthetic.
(FAC ¶¶ 8, 3, 7.) Though Plaintiffs allege that they did not know that the Natural Fiber
component of the Product contained nylon, the packaging clearly shows that
transplanting gel contained nylon. (FAC ¶ 8, 4.) The natural fibers cannot be used
without the transplanting gel. As such, it is implausible to allege that Plaintiffs’
particular purpose for buying the mascara was to use a natural product because the
packaging plainly states that the Product as a whole contains nylon, a synthetic
ingredient. Without a plausible particular purpose for buying the Product, Plaintiffs
cannot plausibly allege that Younique had reason to know that Plaintiffs bought the
Product for a particular purpose. Therefore, without establishing an essential element of
the claim, Plaintiffs’ implied warranty of fitness for a particular purpose claim must fail.

       In conclusion, the Court grants Younique’s motion to dismiss with prejudice on
this ground.

         B.      MMWA (Claim 1)

      Liability under the MMWA requires there to be a breach of a written or implied
warranty. 15 U.S.C. § 2301 et seq. Plaintiffs concede that their MMWA claims with
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respect to the state law express warranties should be dismissed. (Opp’n, Docket No. 47
at 7.) However, they argue that they properly state a claim under the MMWA for
violations of the state law implied warranties. (Id.) But Plaintiffs’ MMWA claim is
styled as one based on a breach of a written warranty. (See FAC ¶¶ 52–61.) For
instance, Plaintiffs allege that “Defendant represented in writing that the Natural Fibers
component of the Product is ‘natural’ and that it contained ‘100% Natural Green Tea
Fibers.’” (Id. ¶ 58 (emphasis added).) They also allege that those representations were
“written warranties” within the meaning of the MMWA, that “Defendant breached the
written warranty,” and that the Product “does not conform to Defendant’s written
warranty” and therefore violates the MMWA. (Id. ¶¶ 59–61.) Plaintiffs only mention an
implied warranty once, in a paragraph describing the protections afforded by the
MMWA. (See id. ¶ 54.) As such, the Court finds that Plaintiffs’ MMWA claim is styled
as one based on a breach of an express warranty. Because Plaintiffs concede that such a
claim cannot stand, the Court grants Younique’s motion to dismiss on this ground.
However, the Court grants Plaintiffs leave to amend their MMWA claim to state a claim
based on implied warranties.

         C.      UCL (Claim 2)

       The UCL provides civil penalties and the equitable remedies of restitution and
injunctive relief. See Kor. Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1144
(2003); Madrid v. Perot Sys. Corp., 130 Cal. App. 4th 440, 452 (2005). A plaintiff
seeking equitable relief must demonstrate that he does not have an adequate remedy at
law. See Philpott v. Super. Ct., 1 Cal. 2d 512, 517 (1934); Knox v. Phoenix Leasing,
Inc., 29 Cal. App. 4th 1357, 1368 (1994). Statutory relief under the UCL “is subject to
fundamental equitable principles, including inadequacy of the legal remedy.” Prudential
Home Mortg. Co. v. Super. Ct., 66 Cal. App. 4th 1236, 1249 (1998). For instance, courts
have dismissed UCL claims when plaintiffs can recover a legal remedy under their
contract claims. See, e.g., Gardner v. Safeco Ins. Co. of Am., No. 14–CV–02024–JCS,
2014 WL 2568895, at *7 (N.D. Cal. June 6, 2014) (dismissing UCL claim where
plaintiffs’ “claims for breach of contract and breach of the implied covenant of good faith
and fair dealing may provide an adequate remedy [at law].”).

     Plaintiffs argue that they seek equitable remedies under the UCL in the alternative.
(Opp’n, Docket No. 47 at 8.) However, Plaintiffs have not pled that they do not have an
adequate remedy at law. And the Court does not dismiss all of Plaintiffs’ claims under
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the implied warranty of merchantability. In conclusion, the Court dismisses Plaintiffs’
UCL claim; however, the Court also grants Plaintiffs leave to amend.

         D.      Other States’ Laws (Claims 15, 16, 17, and 18)

       Younique argues that Plaintiffs lack Article III standing to assert claims under laws
other than those of California, Florida, Ohio, and Tennessee. (Mot., Docket No. 45 at
13–14.)

       Pursuant to Article III of the Constitution, the Court’s jurisdiction over the case
“depends on the existence of a ‘case or controversy.’” GTE Cal., Inc. v. FCC, 39 F.3d
940, 945 (9th Cir. 1994). A “case or controversy” exists only if a plaintiff has standing to
bring the claim. Nelson v. NASA, 530 F.3d 865, 873 (9th Cir. 2008), rev’d on other
grounds, 562 U.S. 134 (2011). A plaintiff “must demonstrate standing separately for
each form of relief sought.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528
U.S. 167, 185 (2000). Article III standing may be raised at any time, and even if neither
side raises the issue, the Court has an independent obligation to consider standing sua
sponte. RK Ventures, Inc. v. City of Seattle, 307 F.3d 1045, 1056 (9th Cir. 2002); Doe v.
Match.com, 789 F. Supp. 2d 1197, 1200 n.5 (C.D. Cal. 2011). A court may “address[]
the issue of standing before it addresse[s] the issue of class certification.” Easter v. Am.
W. Fin., 381 F.3d 948, 962 (9th Cir. 2004)

       In order to satisfy the constitutional requirement of Article III standing for each
claim asserted, Plaintiffs must allege that they made a purchase or were injured in a
particular state in order to bring a claim under that state’s laws. United Food &
Commercial Workers Local 1776 & Participating Employers Health & Welfare Fund v.
Teikoku Pharma USA, Inc., 74 F. Supp. 3d 1052, 1078 (N.D. Cal. 2014) (collecting
cases). Plaintiffs fail to allege such a purchase or injury for all states other than
California, Florida, Ohio and Tennessee. Therefore, they lack standing to bring claims
under those other states’ laws.

      Misapprehending Younique’s point, Plaintiffs make arguments concerning the
propriety of a choice of law analysis on a motion to dismiss. (Opp’n, Docket No. 47 at
16–18.) Younique does not urge the Court to strike allegations under other states’ laws
based on Rule 23; instead, it correctly argues that the named Plaintiffs do not have
standing to bring claims under the laws of states where they do not allege they made
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purchases or were injured. When no named plaintiff has standing to bring a claim on
behalf of class members, the claim must be dismissed. See In re Flash Memory Antitrust
Litig., 643 F. Supp. 2d 1133, 1164 (N.D. Cal. 2009) (“Where, as here, a representative
plaintiff is lacking for a particular state, all claims based on that state’s laws are subject to
dismissal.”).

       In conclusion, the Court grants Younique’s motion to dismiss Plaintiffs’ claims
based on the laws of states other than California, Florida, Ohio, and Tennessee. The
Court grants Plaintiffs leave to amend to join representative plaintiffs with standing to
bring the dismissed claims. See id. at 1164 (granting leave to amend to join
representative class members).

         E.      Notice Requirements (Claims 6, 8, and 18)

                 1.    Florida Notice Requirements for Breach of Warranty Claims

       To properly plead claims for breach of express or implied warranties under Florida
law, “[t]he buyer must within a reasonable time after he or she discovers or should have
discovered any breach notify the seller of breach or be barred from any remedy.” Fla.
Stat. § 672.607 (emphasis added). Plaintiffs concede that Plaintiff Riley did not give
notice. (Opp’n, Docket No. 47 at 11.) But they maintain that the notice provided by
Plaintiff Schmidt pursuant to California’s Consumers Legal Remedies Act satisfied the
Florida notice requirement. (Id.) This cannot be the case where Florida’s notice
requirement clearly mandates that the buyer supply notice. See Willard v. Home Depot,
U.S.A., Inc., No. 509CV110/RS-MD, 2009 WL 4730644, at *3 (N.D. Fla. Dec. 7, 2009)
(“There is no provision in the law for constructive notice of an alleged breach.”); Cohen
v. Implant Innovations, Inc., 259 F.R.D. 617, 625 (S.D. Fla. 2008) (concluding that
individual questions of fact predominated over those common to the class because each
putative class member was required to demonstrate that he or she gave timely notice).

       In conclusion, the Court grants Younique’s motion to dismiss with prejudice
Plaintiffs’ claims for breach of express and implied warranties under Florida law.

         2.      Notice Requirements for Class Actions under Ohio’s Consumer Sales
                 Practices Act

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       Plaintiffs concede that their pleadings do not comply with the notice requirements
of Ohio’s Consumer Sales Practice Act. (Opp’n, Docket No. 47 at 13.) Under §
1345.09(B), Plaintiffs must plead a court decision or a rule from Ohio’s Attorney General
which shows that the alleged wrongful practice was unlawful at the time it occurred. In
re Porsche Cars N. Am., Inc., 880 F. Supp. 2d 801, 868 (S.D. Ohio 2012). Plaintiffs
request leave to amend to add three Ohio Attorney General actions2 that they argue put
Younique on notice that its conduct was unlawful. (Opp’n, Docket No. 47 at 13.)
Younique argues that amendment would be futile because the actions were merely a
“variation of a settlement agreement” and, regardless, they are too general to have
provided adequate notice in this case. (Reply, Docket No. 48 at 16–17.) Though the
actions cited by Plaintiffs may be insufficient to satisfy the requirements of § 1345.09(b),
the Court does not agree that any amendment would be futile. Therefore, though the
Court grants Younique’s motion to dismiss this claim, the Court also grants Plaintiffs
leave to amend to add allegations that a court decision or rule shows that the alleged
wrongful practice was unlawful at the time it occurred.

                                         IV. CONCLUSION

     For the foregoing reasons, the Court grants in part and denies in part Younique’s
motion to dismiss.

                 IT IS SO ORDERED.

                                                                                                :    00

                                                        Initials of Preparer      kjt




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         The actions are: In the matter of Gateway Distributors, Ltd., June 14, 2006, Attorney General
Public Inspection File Number 10002461; Ohio v. The Dannon Co., Inc., December 22, 2010, Franklin
County Case Number 10-CVH-12-18225, Attorney General Public Inspection File number 10002917;
Ohio v. GlaxoSmithKline, LLC, June 23, 2011, Lucas County Case Number CI-2011-3928, Attorney
General Public Inspection File Number 10002956.
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